                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                      : Case No. 1:15-03340-MJC
       HAUBERT HOMES, INC.                   :
                                             : Chapter 11

                                         ORDER

        Upon consideration of the Debtor's Motion for Entry of Final Decree, Dkt. # 450

 ("Motion"), it is

        HEREBY ORDERED that the Motion is GRANTED. A Final Decree shall be

 entered and the case shall be closed.




                                              By the Court,



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                                              Mark J. Conway, Bankruptcy Judge
                                              Dated: July 19, 2023




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